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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

  IN RE NEW JERSEY TAX SALES                   Master Docket No.: 3:12-CV-01893-MAS-TJB
  CERTIFICATES ANTITRUST
  LITIGATION


      THIRD SUPPLEMENTAL DECLARATION OF KENNETH JUE ON
   BEHALF OF SETTLEMENT ADMINISTRATOR RE FINAL DISTRIBUTION

            I, KENNETH JUE, declare:

            1.     I am employed as a senior project manager on this case by Gilardi &

  Co. LLC, a KCC company (“Gilardi”), located at 3301 Kerner Blvd., San Rafael,

  California. Gilardi was appointed by the Court to serve as the Settlement

  Administrator in this case, 1 and as the senior project manager, I oversaw the

  administrative services provided. I have personal knowledge of the facts set forth

  herein and, if called as a witness, could and would testify competently thereto.

  A.        The Claims Distribution Process

            2.     In December 2018, in an effort to simplify the distribution process,

  Gilardi created a Qualified Settlement Fund (“Distribution QSF”) distribution

  account for this case which was established at Huntington Bank. Prior to the

  establishment of the Distribution QSF, all of the settlement monies in this case were

  held in 19 different QSF’s at Huntington Bank that were specific to certain

       1
           See November 4, 2015 Order at ECF No. 428, ¶ 2.
                                                 -1-
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  settlements in this case. The Distribution QSF was established so that settlement

  funds distributed to valid claimants could be done from a single account, as opposed

  to taking each claimant’s pro rata distribution from each of the different 19

  settlement funds which would have been a laborious and cumbersome undertaking,

  and ultimately, result in additional processing costs.

         3.     In December 2018, the total settlement monies across all 19 settlement

  funds (before distribution to the Distribution QSF) was $9,630,894.90. Prior to

  December 2018, the only debits and credits associated with each of the 19

  settlement accounts were interest paid by the Escrow Bank (Huntington Bank) on

  each account (credits), and tax preparation fees for all accounts for multiple years,

  and tax liabilities on certain accounts for multiple years (debits).2 In December 2018,

  $9,594,920.90 was transferred to the Distribution QSF from across all 19 settlement

  funds. Approximately $41,300 was left in the 19 different settlement accounts to pay

  for tax preparation fees and anticipated tax liabilities associated with each of the 19

  settlement accounts for subsequent tax years. Following the transfer of the monies

  from the 19 settlement accounts to the Distribution QSF in December 2018, the 19

  settlement accounts utilized $22,893 for tax preparation fees3 and tax liabilities4 for



      2
        If the Court required accountings from each settlement account from inception, such
  accounting could be provided.
      3
        The tax preparation fees for 2018 taxes totaled $12,825 for all 19 returns.
                                                -2-
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  the 2018 tax year. The 19 settlement accounts earned a total of $1,673.11 in interest

  between December 2018 and July 2019 and, on July 19, 2019, the balance of the 19

  settlement accounts ($20,044.11) was transferred to the Distribution QSF, and the

  19 settlement accounts were then closed.

         4.     From December 19, 2018 to January 3, 2019, Gilardi issued a total of

  $2,958,547.92 in attorneys’ fees and costs approved in the Court’s Order Granting

  Plaintiffs' Motion For an Award of Attorneys’ Fees, Reimbursement of Expenses,

  and Incentive Awards to Named Plaintiffs.5

         5.     On February 3, 2020, Gilardi issued $7,000 of $14,000 in incentive

  awards to the two named plaintiffs that provided their taxpayer identification

  number via IRS Form W-9. Gilardi reserved $7,000 in the Distribution QSF for the

  two remaining incentive awards to two named plaintiffs who had not provided an

  IRS Form W-9. However, those two named plaintiffs recently did provide their IRS

  Form W-9s and their incentive award checks were printed and mailed on or about

  May 19, 2020.




      4
        The total taxes owed for 2018 was $10,068. There were four settlement funds which had tax
  liability; the other 15 did not have tax liability.
      5
        ECF No. 476
                                                -3-
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           6.    On or about November 29, 2019, pursuant to this Court’s order,6

  KCC distributed 287 class payments totaling $6,447,970.52 by sending these

  claimants checks to their last known addresses. The checks had an initial stale date

  of February 27, 2020.

           7.    Since mailing these 287 checks, 27 checks have been returned as

  undeliverable by the United States Postal Service. An address search was run on the

  check payee’s name and address and 9 checks were reissued with an updated

  address. The remailed checks had a stale date of April 14, 2020.

           8.    To date, a total of 255 checks to class members have been cashed

  totaling $5,974,766.72. There are 32 class member checks that remain uncashed

  totaling $473,203.80. In other words, approximately 88.9% of checks issued and

  92.7% of dollars issued have cashed. Of the outstanding checks, one check is a

  reissued check that was returned as undeliverable in the amount of $29,364.97. This

  check was reissued on April 14, 2020. In addition, Gilardi received a reissue request

  for an outstanding check issued in the amount of $20,636.61 and a name change

  request for an outstanding check issued in the amount of $58,101.66. After review

  of the request, the name change request was approved and both check reissues will

  be mailed by June 12, 2020.


     6
         ECF No. 521.
                                            -4-
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           9.     With the exception of the settlement payments in paragraph 7, all

  remaining outstanding checks are past their stale date and will be void with the bank

  and therefore uncashable. Below is a table summarizing the use of the settlement

  funds.



                Funds received to distribution account (in
                December 2018 and July 2019)                      $ 9,614,965.01

                Funds Distributed

                Funds Distributed to Class Members pursuant to
                November 29, 2019 Court Order                     $(6,447,970.52)
                Attorney Fees & Costs Paid (from December
                2018 through January 3, 2019)                     $(2,958,547.92)
                Named Plaintiffs Service Awards Paid              $ (14,000.00)

                Total Distributed Funds                           $   194,446.57

                Reserve for administration fees                   $ (177,402.35)
                Reserve for tax reporting expenses for 2019 tax
                year for 19 QSFs                                  $   (17,032.24)

                Total Available After Subtracting Reserves        $         11.98

                Unused Reserve for tax reporting expenses for
                2019 tax year for 19 settlement funds             $     4,207.24
                Uncashed Checks from Distribution Pursuant to
                November 29, 2019 Court order                     $   478,732.32

                Reissued or pending reissue to Class Members      $   (58,101.66)
                                                                  $   (29,364.97)
                                                                  $   (20,636.61)

                Amount Available for cy pres or residual          $   374,848.30



                                                   -5-
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         10.     Attached as Exhibit 1 is a table which identifies each of the claimants

  who have cashed their initial distribution checks, or, are the subject of a reissued

  check, and what their pro rata portion of the $374,848.30 remaining settlement

  funds is if a residual distribution were to be approved. To calculate these amounts,

  Gilardi used the Plan of Allocation approved by this Court. Namely, the approved

  lien amount, multiplied by the interest rate, and aggregated all eligible claims and

  prorated against the net funds available for each settlement to arrive at their eligible

  check amount.


  B.     The work Gilardi/KCC has performed as Settlement Administrator

         11.     To date, Gilardi has not been paid anything for the services it has

  rendered in this case. Since inception of the case through January 30, 2020, Gilardi

  has incurred $197,513.20 in fees and expenses associated with administering the

  notice program and settlements in this case. This amount includes over $85,000 for

  the notice media plan and $29,000 for postage costs. In addition, Gilardi incurred

  hours or expenses for website development, database work, printing, claims

  processing, phone charges, project management, distribution set up, and check

  issuance.7 Prior to distribution, at the request of Class Counsel, Gilardi agreed to



      7
          For a more fulsome description of the work that Gilardi performed, see my prior
  declarations at ECF Nos. 467, and 517.
                                                -6-
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  provide a discount on their total fees and expenses down to $177,402.35. Gilardi is

  requesting approval to pay itself $177,402.35 from the Distribution QSF.

        I declare under penalty of perjury under the laws of the United States of

  America that the foregoing is true and correct and that this declaration was executed

  this 4th day of June, 2020.



                                         __________________________________
                                         Kenneth Jue




                                          -7-
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                    Exhibit 1
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   Exhibit 1 - Prorated Residual Distribution

   ClaimID                   Residual Payment Amount
   NJTS1-100013082                              $1,191.82
   NJTS1-100027520                              $1,430.48
   NJTS1-100037267                               $423.90
   NJTS1-100048838                               $813.12
   NJTS1-100049583                               $784.34
   NJTS1-100050247                               $635.85
   NJTS1-100053726                              $2,610.35
   NJTS1-100058493                                 $53.85
   NJTS1-100074480                               $109.76
   NJTS1-100079890                               $523.53
   NJTS1-100089763                              $1,028.69
   NJTS1-100091164                              $2,166.93
   NJTS1-100100570                              $9,613.80
   NJTS1-100101119                              $1,271.70
   NJTS1-100101739                                 $29.47
   NJTS1-100112048                              $1,007.45
   NJTS1-100115314                              $1,271.70
   NJTS1-100132596                              $1,146.59
   NJTS1-100133339                               $997.67
   NJTS1-100140254                               $916.85
   NJTS1-100149855                               $211.95
   NJTS1-100149960                               $543.41
   NJTS1-100153216                               $127.75
   NJTS1-100161596                               $419.24
   NJTS1-100169503                               $100.38
   NJTS1-100170030                               $311.31
   NJTS1-100174680                              $1,297.82
   NJTS1-100179916                              $1,303.67
   NJTS1-100181570                              $1,271.70
   NJTS1-100184006                              $3,948.41
   NJTS1-100189857                              $1,204.41
   NJTS1-100193463                               $423.90
   NJTS1-100201440                              $3,920.61
   NJTS1-100217656                               $343.44
   NJTS1-100223117                                 $94.77
   NJTS1-100223508                              $1,949.47
   NJTS1-100223613                               $171.67
   NJTS1-100224148                               $138.43
   NJTS1-100225683                               $140.32
   NJTS1-100233732                                  $1.63
   NJTS1-100250327                              $2,156.84
   NJTS1-100255779                             $19,816.07
   NJTS1-100263437                               $565.20
   NJTS1-100281311                              $4,623.97
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    Exhibit 1 - Prorated Residual Distribution

    ClaimID                   Residual Payment Amount
    NJTS1-100302203                              $3,791.08
    NJTS1-100303366                               $152.27
    NJTS1-100303765                               $422.66
    NJTS1-100304303                               $972.53
    NJTS1-100306110                               $353.25
    NJTS1-100307736                              $1,203.63
    NJTS1-100311415                              $1,419.66
    NJTS1-100316263                              $2,370.78
    NJTS1-100333087                               $322.50
    NJTS1-100333826                              $2,594.67
    NJTS1-100335640                              $5,100.86
    NJTS1-100336841                               $834.94
    NJTS1-100337511                                 $19.66
    NJTS1-100341500                               $948.09
    NJTS1-100343376                              $2,610.47
    NJTS1-100344585                              $1,271.70
    NJTS1-100346359                                  $8.63
    NJTS1-100346707                               $108.85
    NJTS1-100354386                               $276.35
    NJTS1-100357067                              $3,826.67
    NJTS1-100358683                              $3,083.07
    NJTS1-100371132                              $1,353.45
    NJTS1-100411991                              $1,271.70
    NJTS1-100416829                                 $33.35
    NJTS1-100417507                                 $45.52
    NJTS1-100421520                               $282.10
    NJTS1-100441106                              $6,501.07
    NJTS1-100443192                             $15,416.59
    NJTS1-100454909                               $992.07
    NJTS1-100464025                               $467.84
    NJTS1-100466214                              $1,291.95
    NJTS1-100484395                                 $71.83
    NJTS1-100494978                               $121.79
    NJTS1-100495583                              $1,271.70
    NJTS1-100499600                               $153.31
    NJTS1-100505074                              $1,357.54
    NJTS1-100529399                              $1,213.78
    NJTS1-100530451                               $363.35
    NJTS1-100533710                               $922.29
    NJTS1-100539262                              $2,542.28
    NJTS1-100539351                               $231.75
    NJTS1-100540945                               $445.89
    NJTS1-100550932                                 $48.16
    NJTS1-100552277                               $459.22
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    Exhibit 1 - Prorated Residual Distribution

    ClaimID                   Residual Payment Amount
    NJTS1-100556426                              $1,694.25
    NJTS1-100565514                             $25,987.01
    NJTS1-100574181                              $1,427.76
    NJTS1-100576915                              $2,376.36
    NJTS1-100580157                              $1,162.13
    NJTS1-100580211                              $1,271.70
    NJTS1-100580440                               $186.12
    NJTS1-100581668                               $706.50
    NJTS1-100585213                               $494.55
    NJTS1-100585396                              $2,857.50
    NJTS1-100613179                                 $62.83
    NJTS1-100613403                               $968.03
    NJTS1-100616950                               $168.07
    NJTS1-100624057                              $1,325.60
    NJTS1-100632092                              $1,317.20
    NJTS1-100636349                               $371.82
    NJTS1-100636624                               $128.04
    NJTS1-100637949                              $2,860.73
    NJTS1-100655424                              $3,580.43
    NJTS1-100656897                                 $62.43
    NJTS1-100680615                               $421.91
    NJTS1-100691080                              $1,201.05
    NJTS1-100691862                              $1,634.84
    NJTS1-100702937                              $6,657.63
    NJTS1-100720862                                 $49.92
    NJTS1-100731589                                 $81.26
    NJTS1-100732909                              $1,271.70
    NJTS1-100747523                               $164.33
    NJTS1-100759009                                 $51.46
    NJTS1-100769233                               $895.31
    NJTS1-100771157                              $1,059.75
    NJTS1-100780946                              $2,990.13
    NJTS1-100789463                               $706.50
    NJTS1-100803113                               $706.50
    NJTS1-100867880                              $1,271.70
    NJTS1-100870511                              $1,743.68
    NJTS1-100882730                              $2,089.00
    NJTS1-100895077                              $5,493.34
    NJTS1-100930301                              $1,079.38
    NJTS1-100932800                               $303.73
    NJTS1-100934161                              $1,196.96
    NJTS1-400000008                              $2,316.80
    NJTS1-400000024                              $1,271.70
    NJTS1-400000032                              $1,721.05
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    Exhibit 1 - Prorated Residual Distribution

    ClaimID                   Residual Payment Amount
    NJTS1-400000040                               $529.87
    NJTS1-400000075                               $282.60
    NJTS1-400000083                               $353.25
    NJTS1-400000091                               $308.34
    NJTS1-400000148                               $453.55
    NJTS1-400000156                              $1,059.75
    NJTS1-400000199                               $199.70
    NJTS1-400000229                              $3,739.89
    NJTS1-400000237                                 $70.65
    NJTS1-400000296                              $5,539.46
    NJTS1-400000300                              $5,126.11
    NJTS1-400000334                              $2,543.40
    NJTS1-400000342                              $8,692.04
    NJTS1-400000385                              $4,428.36
    NJTS1-400000393                                 $31.35
    NJTS1-400000415                              $2,426.82
    NJTS1-400000423                              $6,481.02
    NJTS1-400000431                              $1,611.18
    NJTS1-400000440                              $2,269.94
    NJTS1-400000466                              $1,422.64
    NJTS1-400000474                              $2,820.58
    NJTS1-400000490                               $242.74
    NJTS1-400000520                              $1,207.04
    NJTS1-400000539                               $997.37
    NJTS1-400000547                              $1,044.61
    NJTS1-400000555                              $1,028.35
    NJTS1-400000571                              $1,717.34
    NJTS1-400000598                               $924.48
    NJTS1-400000601                               $585.52
    NJTS1-400000610                              $1,703.96
    NJTS1-400000628                               $599.33
    NJTS1-400000636                              $3,545.30
    NJTS1-400000725                              $1,130.29
    NJTS1-400000733                              $1,717.25
    NJTS1-400000741                               $585.52
    NJTS1-400000750                               $706.50
    NJTS1-400000768                               $725.15
    NJTS1-700000011                                 $68.01
    NJTS1-700000119                                 $70.65
    NJTS1-700000135                               $173.83
    NJTS1-700000143                               $190.50
    NJTS1-700000178                               $207.61
    NJTS1-700000224                              $2,562.05
    NJTS1-700000240                                 $42.47
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    Exhibit 1 - Prorated Residual Distribution

    ClaimID                   Residual Payment Amount
    NJTS1-700000291                               $304.77
    NJTS1-700000313                              $1,271.70
    NJTS1-700000321                               $292.73
    NJTS1-700000330                              $1,810.63
    NJTS1-700000348                               $287.12
    NJTS1-700000356                              $1,776.25
    NJTS1-700000364                               $691.95
    NJTS1-700000372                               $131.48
    NJTS1-700000380                               $734.91
    NJTS1-700000399                               $357.45
    NJTS1-700000402                               $184.46
    NJTS1-700000410                               $347.88
    NJTS1-700000585                               $153.59
    NJTS1-700000593                               $885.02
    NJTS1-700000607                               $212.93
    NJTS1-700000666                               $565.20
    NJTS1-700000690                                 $83.06
    NJTS1-700000712                               $471.81
    NJTS1-700000739                              $1,271.70
    NJTS1-700000763                              $1,136.08
    NJTS1-700000780                              $1,271.70
    NJTS1-700000798                               $272.53
    NJTS1-700000801                                 $64.48
    NJTS1-700000810                              $1,851.20
    NJTS1-700000828                               $616.13
    NJTS1-700000836                              $1,303.10
    NJTS1-700000844                               $459.07
    NJTS1-700000852                               $195.63
    NJTS1-700000860                              $1,513.43
    NJTS1-700000879                               $345.03
    NJTS1-700000887                               $361.08
    NJTS1-700000895                               $332.92
    NJTS1-700000909                              $1,533.09
    NJTS1-700000917                               $304.04
    NJTS1-700000925                              $1,271.70
    NJTS1-700000933                              $1,437.80
    NJTS1-700000941                               $733.42
    NJTS1-700000950                              $1,127.15
    NJTS1-700000968                              $3,805.86
    NJTS1-700000976                               $153.14
    NJTS1-700000984                               $327.02
    NJTS1-700000992                               $250.60
    NJTS1-700001000                               $494.32
    NJTS1-700001018                               $414.71
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    Exhibit 1 - Prorated Residual Distribution

    ClaimID                   Residual Payment Amount
    NJTS1-700001034                              $1,271.70
    NJTS1-700001042                                 $54.08
    NJTS1-700001050                                 $87.25
    NJTS1-700001077                                $399.51
    NJTS1-700001085                              $2,192.95
    NJTS1-700001093                                $163.87
    NJTS1-700001107                                $139.46
    NJTS1-700001131                              $6,991.68
    NJTS1-700001140                                  $8.14
    NJTS1-700001158                                $114.37
    NJTS1-700001182                                $789.52
    NJTS1-700001220                                $916.58
    NJTS1-700001239                              $1,809.57
    NJTS1-700001255                              $1,340.26
    NJTS1-700001280                                $818.29
    NJTS1-700001298                                $571.48
    NJTS1-700001344                              $1,271.70
    NJTS1-700001352                              $1,088.70
    NJTS1-700001360                                $572.63
    NJTS1-700001379                                $340.68
    NJTS1-700001468                              $1,271.70
    NJTS1-700001476                                $281.12
    NJTS1-700001549                                $149.61
    NJTS1-700001590                                $882.34
    NJTS1-700001603                                 $58.03
    NJTS1-700001620                              $3,922.52
    NJTS1-700001638                              $1,556.72
    NJTS1-700001646                                $728.60
    NJTS1-700001654                              $2,058.96
    NJTS1-700001662                                $847.07
    NJTS1-700001670                                 $81.96
    NJTS1-700001719                                $340.68
    NJTS1-700001727                                $921.14
    NJTS1-900000023                                $448.22
    NJTS1-900000031                              $3,015.57
    NJTS1-900000511                                $580.33
    NJTS1-900000554                              $3,322.58
    NJTS1-900000570                                $807.56
    Total                                      $374,847.13
